              Case 2:12-cr-00169-TLN Document 441 Filed 03/26/15 Page 1 of 2


     Timothy E. Warriner (SB#166128)
 1   Attorney at Law
     428 J St., Suite 350
 2   Sacramento, CA 95814
     (916) 443-7141
 3
     Attorneys for Defendant,
 4   Bruce Thurmon
 5
                                  UNITED STATES DISTRICT COURT
 6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                    )   Case No. 12-cr-00169-MCE
     UNITED STATES OF AMERICA,                        )
 9                                                    )   STIPULATION AND ORDER
                     Plaintiff,                       )   CONTINUING STATUS CONFERENCE
10                                                    )   AND EXCLUDING TIME
            vs.                                       )
11                                                    )
     BRUCE THURMMON,                                  )
12                                                    )
                     Defendant                        )
13                                                    )
14
            Jason Hitt, Assistant U.S. Attorney, for the government, and Timothy E. Warriner, for the
15
     defendant, hereby stipulate that the status conference now set for March 25, 2015 be continued to
16
     April 9, 2015 at 9:00 a.m. Additional time is requested in order to evaluate changes to a proposed
17
     plea agreement and to review the proposed plea agreement with Mr. Thurmon. The parties
18

19
     further stipulate that the court exclude the period from the date of this order through April 9,

20   2015 from the time within which the trial of this criminal prosecution must commence for

21   purposes of the Speedy Trial Act. The parties stipulate that the ends of justice served by granting
22   the defendant’s request for a continuance outweigh the best interest of the public and the
23
     defendant in a speedy trial, and that this is an appropriate exclusion of time for defense
24
     preparation within the meaning of 18 U.S.C. § 3161(h)(7) (Local Code T4).
25

26

                                                      1
              Case 2:12-cr-00169-TLN Document 441 Filed 03/26/15 Page 2 of 2


     DATED: March 25, 2014                         /s/ Timothy E. Warriner, Attorney for Defendant,
 1
                                                   Bruce Thurmon
 2
     DATED: March 25, 2014                         /s/ Jason Hitt, Assistant U.S. Attorney
 3

 4
                                                  ORDER
 5
            GOOD CAUSE APPEARING and based upon the stipulation of the parties, the status
 6

 7   conference now set for March 26, 2015, is continued to April 9, 2015 at 9:00 a.m. Time is

 8   excluded pursuant to the Speedy Trial Act to that date. The ends of justice served by granting

 9   the defendant’s request for a continuance for the purpose of defense preparation outweigh the
10
     best interest of the public and the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h)(7)
11
     (Local Code T4).
12
            IT IS SO ORDERED.
13
     Dated: March 26, 2015
14

15

16

17

18

19

20

21

22

23

24

25

26

                                                      2
